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United States Couris
Southern District of Texas
FILED

IN THE UNITED STATES DISTRICT COURT NOV 28 2023
SOUTHERN DISTRICT OF TEXAS .
HOUSTON DIVISION

PLANET HOME LENDING AND AMCAP
MORTGAGE LTD.
Defendants. ~~

ANTHONY D. JACKSON AND SUPERIORS -
CONSULTING GROUP §
Plaintiffs, § Case 4:23-cv-03165
§
Vv. §
§
§
§

PLANTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS
TO THE HONORABLE JUDGE OF SAID COURT:

Plaintiffs Anthony D. Jackson and Superior Consulting Group (“Plaintiffs”) asks the Court
to deny Defendant’s Planet Home Lending (“Defendant”) Motion to Dismiss. For the reasons set
forth below, Plaintiffs requests that this Court deny the Motion to Dismiss in its entirety; and would
show unto the Court as follows:

I. INTRODUCTION

Plaintiffs filed their Original Petition and Application for Temporary Restraining Order on
-March-3:1, 2023, in-District Court of Harris County,;Texas. Defendant-Ameap, then subsequently
removed the case to this Court and now the Defendant Planet Home Lending has filed a Motion to
Dismiss on the pleadings alleging that the Plaintiffs did not properly please facts sufficient to
support the claims against the Defendants.
Plaintiffs now file this response asking the Court to deny the Defendants’ Motion to

Dismiss in its entirety and to allow the parties to conduct discovery and address the merits of the

Nathan Ochsner, Clerk of Court

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claims against all Defendants. In the alternative, should the Court find that one or more of .
Plaintiffs’ theories of recovery are not properly pled, Plaintiffs respectfully requests that this Court
grant Plaintiffs leave to amend the pleading.

II. ARGUMENTS AND AUTHORITIES

A. Dismissal is not Property under Rule 12(B)(6)

Rule 12(b)(b) allows dismissal if a plaintiff fails “to state a claim upon which relief may
be granted.” The Supreme Court clarified the standards that apply in a motion to dismiss for failure
“to state a claitn in Bell Atlantic’Corp. v. Twombly, 550-U:S:544-(2007). Fhe Supreme Court-stated- --—-- .- —
that Rule 12(b)(6) must be read in conjunction with Rule 8(a), which requires “a short and plain
statement of the claim showing that the pleader is entitled to relief.” The Supreme Court held that
“we do not require heightened fact pleading of specifics, but only enough facts to state a claim to
relief that is plausible on its face.3 A complaint may be dismissed if a plaintiff fails to “nudge [his]
claims across the line from conceivable to plausible. When considering Defendant’s motion to
dismiss, the Court must construe the factual allegations in the complaint in the light most favorable
to Plaintiff. Only ifno possible construction of the alleged facts will entitle Plaintiff to relief should
the Court grant Defendant’s Motion. If the factual allegations in Plaintiffs’ complaint support any
legal theory that entitles Plaintiffs to some relief, the Court should overrule Defendant’s motion.

Granting a motion to dismiss is a “disfavored” practice. Plaintiffs are not required to “establish”

- any facts until either a motion for summary judgment is filed or at the trial itself. As Plaintiffs will
establish below, Plaintiffs have alleged sufficient.facts to state a claim for relief that is “plausible
on its face.” Accordingly, Defendants’ Motion to Dismiss should be denied. Should the Court find
that one or more of Plaintiffs’ theories of recovery are not properly pled, Plaintiffs respectfully
requests that this Court deny Defendant Planet Home Lending’s Motion to Dismiss and grant

Plaintiffs leave to amend his pleading if needed.

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TH. SUMMARY OF THE ARGUMENT

Plaintiffs’ constitutional allegations are well-pled and supported by evidence. Plaintiffs’
challenges to the chain of title are well-pled and supported by evidence. Plaintiffs have standing
to challenge that the chain of title to the loan is broken. Defendants have failed to offer sufficient
evidence of an unbroken chain of title since they failed to inform the Court of the identity of the

parties.

---~ Plaintiffs’ challenges to the-assignment are well-pled and support by evidence.as shown by...

Plaintiffs’ MERS related allegations would render the assignment void ab initio and Plaintiffs’

evidence creates a genuine issue of disputed fact as to whether the assignment is void ab initio.

Plaintiffs’ quiet title and declaratory judgment claims survive as do Plaintiffs’ claims for

attorney’s fees and injunctive relief.

After the filing of the Plaintiffs’ petition in State and the subsequent removal to Federal
Court, the Plaintiffs’ have been made aware of a fraudulent foreclosure sale which was not
conducted properly, as it was not noticed in two places in Harris County and was not conducted in
the proper place as noticed by the Defendant’s notice of sale. Plaintiffs’ belief is that the sale

never even occurred and thus creating a fraudulent sale and transfer of title.
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V. CONCLUSION AND PRAYER

Considering all the foregoing, Plaintiffs respectfully requests that the Court deny all relief
sought by Defendant in their Motion to Dismiss; alternatively, should the Court determine that a
more definite statement as to any claim would be necessary in the interest of justice, that Plaintiffs
be permitted to replead to that effect and to cure any inadvertent errors of date or party reference.

_ WHEREFORE PREMISES CONSIDERED, Plaintiffs pray that the Court deny
Defendant’s Motion to Dismiss or in the alternative, permit Plaintiff leave t to > amend his s Original

Petition.
Respectfully Submitted,

LAW OFFICE OF RHONDA SHEDRICK ROSS

By: /s/ Ronda Shedrick Ross A UNG

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing document was electronically filed
and served on the following via the Court’s CM/ECF’s system pursuant to the Federal Rules of
Civil Procedure or by first class mail on this the 20" day of November 2023 to all parties of

record.

/s/ Rhonda S. Ross
Rhonda S. Ross

